                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


BRENT S., ANGIE S., J.B., R.B., A.F., C.S.,
H.S., STEVE C., KELLY W., JANE DOE,
and M.L., individually and as representatives
of the class of similarly situated individuals,

                    Plaintiffs,
                                                  D. MASS. CIVIL ACTION
               v.
                                                  NO. 1:17-cv-11569-ADB
BLUE CROSS AND BLUE SHIELD OF
MASSACHUSETTS, INC., and BLUE
CROSS AND BLUE SHIELD OF
MASSACHUSETTS HMO BLUE, INC.

                    Defendants.


 ORDER AWARDING ATTORNEYS’ FEES, REIMBURSEMENT OF EXPENSES AND
                   PLAINTIFF SERVICE AWARDS

       This matter came before the Court for hearing on April 11, 2023 (“Final Fairness Hearing”)

on Class Counsel’s motion for an award of attorneys’ fees, reimbursement of expenses and

Plaintiff service awards. The Court having considered all matters submitted to it at the Final

Fairness Hearing and otherwise; and it appearing that notice of the Final Fairness Hearing

substantially in the form approved by the Court was mailed to all 239 Settlement Payment Class

Members and posted on the Settlement Website (www.brentssettlement.com); and the Court

having considered and determined the fairness and reasonableness of the award of attorneys’ fees,

reimbursement of expenses and Plaintiff service awards requested,

       NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

       1. This Order incorporates by reference the definitions in the Settlement (Docket No. 237-

1) (the “Settlement”) and all capitalized terms not otherwise defined herein shall have the same

meanings as set forth in the Settlement.
       2. The Court has jurisdiction to enter this Order and over the subject matter of the Action

and all parties to the Action, including all Class Members.

       3. Notice of Class Counsel’s motion for an award of attorneys’ fees, reimbursement of

expenses and Plaintiff service awards was given to all Settlement Payment Class Members who

could be identified with reasonable effort. The form and method of notifying the Class of the

motion for an award of attorneys’ fees, reimbursement of expenses and Plaintiff service awards

satisfied the requirements of Rule 23 of the Federal Rules of Civil Procedure, due process, and all

other applicable law and rules, constituted the best notice practicable under the circumstances, and

constituted due and sufficient notice to all persons and entities entitled thereto.

       4. Lead Counsel are hereby awarded attorneys’ fees in the amount of $3,505,966.69, and

reimbursement of $94,033.31 in Class Counsel’s expenses (which fees and expenses shall be paid

by Defendants separate and apart from any amounts due to Settlement Payment Class members

under the Settlement), which sums the Court finds to be fair and reasonable. In recognition of the

considerable time and effort expended on behalf of the Class, Plaintiffs (1) Brent S., Angie S., (2)

J.B., R.B., (3) A.F., (4) C.S., H.S., and (5) Steve C., Kelly W., Jane Doe are awarded a collective

total of $100,000 to be paid by Defendants. This $100,000 award shall be distributed as $20,000

to each of these five families.

       5. In making this award of attorneys’ fees, reimbursement of expenses and Plaintiff service

awards to be paid by Defendants separate from the Settlement Payment Class payments, the Court

has considered and found that:

       (a) The Settlement has made amounts ranging from $5,000 to $88,875 available to 239

Settlement Payment Class members, depending on the circumstances of their claims, because of

the efforts of Class Counsel;




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       (b) Copies of the Notice were mailed to the 239 Settlement Payment Class members stating

that Class Counsel would apply for a cumulative total of $3,600,000 in attorneys’ fees and expense

reimbursements to be paid separately by Defendants, and an additional $100,000 in Plaintiff

service awards, also to be paid separately by Defendants.

       There were no objections to the requested attorneys’ fees, expense reimbursements and/or

Plaintiff service awards;

       (c) Class Counsel has conducted the litigation and achieved the Settlement with skill,

perseverance and diligent advocacy;

       (d) The Action raised a number of complex issues;

       (e) Had Class Counsel not achieved the Settlement there would remain a significant risk

that Plaintiffs and the other members of the Settlement Payment Class may have recovered less or

nothing from Defendants;

       (f) The amount of attorneys’ fees awarded, expenses to be reimbursed and Plaintiff service

awards are fair and reasonable and consistent with awards in similar cases.

       6. Any appeal or any challenge affecting this Court’s approval regarding any attorneys’

fees, expense reimbursement and/or Plaintiff service awards shall in no way disturb or affect the

finality of the Judgment.

       7. Exclusive jurisdiction is hereby retained over the parties and the Settlement Class

Members for all matters relating to this Action, including the administration, interpretation,

effectuation or enforcement of the Settlement and this Order.

       8. In the event that the Settlement is terminated or the Effective Date of the Settlement

otherwise fails to occur, this Order shall be rendered null and void to the extent provided by the

Settlement.




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